    Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 1 of 8. PageID #: 29244




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



      IN RE: NATIONAL PRESCRIPTION                                 MDL No. 2804
            OPIATE LITIGATION

             This document relates to:                         Hon. Dan Aaron Polster
    The County of Summit, Ohio, et al. v. Purdue
     Pharma L.P., et al., Case No. 18-op-45090;
      The County of Cuyahoga, Ohio, et al. v.
    Purdue Pharma L.P., Case No. 17-op-45004;
    The City of Cleveland, Ohio, et al. v. Purdue
        Pharma L.P., Case No. 18-op-45132



           OBJECTION TO SPECIAL MASTER’S DISCOVERY RULING NO. 13

         Distributors1 object to Part I of the Special Master’s Discovery Ruling No. 13 (Dkt. No.

1215) (the “Ruling”), which concerns Distributors’ Interrogatory Nos. 19, 20, 21, and 29. The

four Interrogatories request that Plaintiffs identify each person whose use or ingestion of

prescription opioids or other drugs resulted in expenditures by Plaintiffs for which they seek

damages, a description of how that person’s use of opioids resulted in expenditures by Plaintiffs,

and how Plaintiffs contend that Distributors’ conduct caused the expense that Plaintiffs incurred

for that individual.

         Plaintiffs objected to responding to each Interrogatory, and after meeting and conferring,

Distributors moved to compel Plaintiffs to provide responses to the Interrogatories. On

December 22, 2018, Special Master Cohen denied Distributors’ motion to compel, stating only



1
 AmerisourceBergen Drug Corporation, Anda, Inc., Cardinal Health, Inc., HBC Service
Company, H.D. Smith, LLC f/k/a H.D. Smith Wholesale Drug Co., McKesson Corporation, and
Prescription Supply, Inc.

                                                    1
    Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 2 of 8. PageID #: 29245




that he found “well-taken the positions stated in Plaintiffs’ Dec. 3, 2018 letter, so no

supplementation is required to ROGs 19, 20, 21, or 29. Plaintiffs existing responses provide

defendants with a sufficient understanding of the facts and theories at issue in this case.” Ruling

at 2. Per Special Master Cohen’s direction, we attach as Exhibits 1 through 3 the parties’ prior

briefing on these Interrogatories. See Ex. 1 (Nov. 4, 2018 Letter from P. Boehm to S.M. Cohen);

Ex. 2 (Dec. 3, 2018 Letter from P. do Amaral to S.M. Cohen); Ex. 3 (Dec. 4, 2018 Letter from P.

Boehm to S.M. Cohen).

       Distributors object to the Ruling because Plaintiffs’ “existing responses” do not provide

Distributors with a sufficient understanding of the factual basis for Plaintiffs’ claims. First,

Plaintiffs contend that they have sufficiently responded to the Interrogatories because they

produced documents in which purportedly can be found the names of individuals whose use or

abuse of opioids resulted in governmental expenditures, including medical examiner’s records,

court case files, police reports, EMS incident reports, EMS databases, police, fire, and sheriff

emergency response incidence reports, and prosecutor and sheriff’s files. But even if Plaintiffs’

generalized reference to their document productions were a proper substitute for answers to

specific interrogatories,2 the fact that an autopsy report, for example, might list prescription

opioids (likely in conjunction with additional substances) as a cause of an individual’s death does

nothing to inform Distributors whether Plaintiffs contend that (i) Distributors’ conduct


2
  Plaintiffs cannot be permitted simply to fall back on Rule 33(d), which applies when “the
answer to an interrogatory may be determined by examining, auditing, compiling, abstracting, or
summarizing a party’s business records.” That rule does not cover this situation where the
answer may be determined from business records only through the exercise of judgment by
Plaintiffs. Distributors did not ask for the identity of every individual who was injured from
drug abuse in Plaintiffs’ jurisdictions. Distributors asked which of all the individuals injured
from drug abuse in Plaintiffs’ jurisdictions suffered injuries that allegedly resulted in expenses
claimed by Plaintiffs as damages. That cannot be gleaned from business records.



                                                  2
    Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 3 of 8. PageID #: 29246




contributed to that death and, regarding that individual, (ii) Plaintiffs spent “resources beyond

what they had budgeted to attempt to stop the flow of the excess opioids into local communities

and to bear the costs associated with cleaning them up.” Opinion and Order (Dkt. No. 1203) at

9–10.

        Second, Plaintiffs contend that they already have responded to these Interrogatories

because they provided responses to Pharmacies’ Interrogatory No. 3, which asked for

identification of prescriptions “the filling of which caused or led to harm for which [Plaintiffs]

seek to recover in this case.” But Plaintiffs seek damages for more than just legal prescriptions

that allegedly caused harm. Plaintiffs also claim as damages expenses paid in response to

injuries to individuals that allegedly resulted from illicit opioids. Indeed, in denying

Distributors’ motion to dismiss, the Court described the chain of causation that Plaintiffs have

pled as follows: “(i) RICO Marketing Defendants made deceptive claims in promoting their

opioids in order to sell more opioids than the legitimate medical market could support (the

conduct); (ii) the excess opioids marketed by the RICO Marketing Defendants and distributed by

the RICO Supply Chain Defendants were then diverted into an illicit, black market; (iii)

Plaintiffs were forced to expend resources beyond what they had budgeted to attempt to stop the

flow of the excess opioids into local communities and to bear the costs associated with cleaning

them up.” Dkt. No. 1203 at 9–10 (emphasis added).3 Neither the documents that Plaintiffs have

produced thus far (e.g., autopsy reports, police reports, sheriff’s files) nor the identification of

prescriptions that allegedly led to increased expenditures by Plaintiffs provides the factual

information that is necessary to determine if this alleged chain of causation can be proven: can


3
 This description was part of the Court’s analysis of proximate cause under RICO, but
Distributors understand that Plaintiffs will attempt to prove this chain of causation in order to
prove their other claims, as well.

                                                   3
    Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 4 of 8. PageID #: 29247




Plaintiffs “connect the dots” between (i) any “excess opioids” allegedly distributed by

Distributors, (ii) an “illicit, black market,” and (iii) individual users who participated in that

“illicit, black market” and concerning whom and on whose behalf Plaintiffs expended public

resources?

        Third, Plaintiffs contend that they should not have to answer Interrogatory No. 29, which

asks Plaintiffs to identify which “suspicious orders” allegedly shipped by each Distributor were

diverted, because they “cannot possibly know which pills were actually abused or destroyed, nor

are they required to know this in order to prove their case.” Ex. 2 at 9. The parties certainly will

dispute the proper way for Plaintiffs to prove their case when the time comes, but for now, no

matter how they intend to prove their case, Plaintiffs cannot refuse to provide basic and plainly

relevant information.4 At a minimum, Distributors are entitled to information now, while

discovery still may be taken, to test (and rebut) the alleged contention that any “excess opioids”

allegedly distributed by Distributors fueled an “illicit, black market” that caused Plaintiffs to

expend additional public resources.

         Distributors also are entitled in discovery to learn the facts necessary to separate (a) the

costs that are traceable to use of illicit substances from costs that are traceable to use of

prescription opioids, (b) the costs that are traceable to misuse of prescription opioids from costs

that are traceable to legitimate use of prescription opioids, and (c) the costs that are traceable to



4
 In their opposition to Distributors’ motion to compel, Plaintiffs likened the opioid epidemic to
an “oil spill.” Ex. 2 at 10–11. Distributors dispute that the claims here are anything like the
claims in an oil spill case and dispute that causation will be so easily proven as Plaintiffs
contend. But those are issues for summary judgment, not this discovery dispute. For now, the
question is whether the requested discovery is relevant and proportional to the needs of the
case—which it is for the reasons stated herein and in Exhibits 1 and 3.




                                                   4
    Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 5 of 8. PageID #: 29248




diversion of pills filled by allegedly suspicious orders from the costs that are traceable to pills

that were filled by indisputably legitimate orders (according to the Second Amended Complaint,

the vast majority of orders, because the allegedly deceptive marketing campaign changed the

medical orthodoxy for prescribing pain medications). Each of these steps requires at the outset

the identification of individuals whose opioid use resulted in Plaintiffs’ alleged expenditures.

       Fourth, Plaintiffs raise a host of privacy concerns regarding the identity of individuals for

whom they claim to have expended additional resources. If the Court determines that the

information is relevant and should be provided, the Court has the tools to address those concerns

and can fashion suitable protections, as it has done with the ARCOS data and other sensitive,

otherwise confidential information.

       In order to fast-track this dispute for the Court given the impending close of fact

discovery, and in order to meet the Special Master’s shortened deadline to file this objection,5

and at his direction to attach the prior briefing to this Objection, Distributors also incorporate

their prior briefing to the Special Master on these Interrogatories. See Exs. 1, 3.

       For the reasons given herein, and those given in Exhibits 1 and 3, Distributors

respectfully request that Plaintiffs be required to provide substantive answers to Interrogatory

Nos. 19, 20, 21, and 29.




5
  The Special Master shortened the 21-day deadline for objections set by this Court and the
Federal Rules of Civil Procedure to only nine days. See Fed. R. Civ. P. 53(f)(2) (“A party may
file objections to ... the master’s order, report, or recommendations no later than 21 days after a
copy is served, unless the court sets a different time.”); Appointment Order (Dkt. No. 69) at 4
(“Pursuant to Rule 53(f)(2) any party may file an objection to an order, finding, report, ruling, or
recommendation by the Special Masters within 21 calendar days of the date it was filed ....”).

                                                  5
 Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 6 of 8. PageID #: 29249




Dated: December 31, 2018                 Respectfully submitted,


                                         /s/ Enu Mainigi
                                         Enu Mainigi
                                         F. Lane Heard III
                                         Steven M. Pyser
                                         Ashley W. Hardin
                                         WILLIAMS & CONNOLLY LLP
                                         725 Twelfth Street, NW
                                         Washington, DC 20005
                                         Tel: (202) 434-5000
                                         Fax: (202) 434-5029
                                         emainigi@wc.com
                                         lheard@wc.com
                                         spyser@wc.com
                                         ahardin@wc.com

                                         Counsel for Cardinal Health, Inc.


                                         /s/ Robert A. Nicholas (consent)
                                         Robert A. Nicholas
                                         Shannon E. McClure
                                         REED SMITH LLP
                                         Three Logan Square
                                         1717 Arch Street, Suite 3100
                                         Philadelphia, PA 19103
                                         Tel: (215) 851-8100
                                         Fax: (215) 851-1420
                                         rnicholas@reedsmith.com
                                         smcclure@reedsmith.com

                                         Counsel for AmerisourceBergen Drug
                                         Corporation


                                         /s/ Geoffrey Hobart (consent)
                                         Geoffrey Hobart
                                         Mark Lynch
                                         Christian Pistilli
                                         COVINGTON & BURLING LLP
                                         One CityCenter
                                         850 Tenth Street NW
                                         Washington, DC 20001
                                         Tel: (202) 662-5281

                                     6
Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 7 of 8. PageID #: 29250




                                        ghobart@cov.com
                                        mlynch@cov.com
                                        cpistilli@cov.com

                                        Counsel for McKesson Corporation

                                        /s/ James W. Matthews (consent)
                                        James W. Matthews
                                        Katy E. Koski
                                        Redi Kasollja
                                        FOLEY & LARDNER LLP
                                        111 Huntington Avenue
                                        Boston, MA 02199
                                        Tel: (617) 342-4000
                                        Fax: (617) 342-4001
                                        jmatthews@foley.com
                                        kkoski@foley.com
                                        rkasollja@foley.com

                                        Counsel for Defendant Anda, Inc.

                                        /s/ John J. Haggerty (consent)
                                        John J. Haggerty
                                        FOX ROTHSCHILD LLP
                                        2700 Kelly Road, Suite 300
                                        Warrington, PA 18976-3624
                                        Tel.: (215) 345-7500
                                        Fax: (215) 345-7507
                                        jhaggerty@foxrothschild.com

                                        Counsel for Prescription Supply, Inc.

                                        /s/ William E. Padgett (consent)
                                        William E. Padgett
                                        BARNES & THORNBURG LLP
                                        11 South Meridian Street
                                        Indianapolis, IN 46204
                                        Tel: (317) 236-1313
                                        Fax: (317) 231-7433
                                        william.padgett@btlaw.com

                                        Counsel for H.D. Smith, LLC f/k/a H.D. Smith
                                        Wholesale Drug Co.

                                        /s/ Robert M. Barnes (consent)
                                        Robert M. Barnes

                                    7
  Case: 1:17-md-02804-DAP Doc #: 1219 Filed: 12/31/18 8 of 8. PageID #: 29251




                                                   Scott D. Livingston
                                                   Joshua A. Kobrin
                                                   MARCUS & SHAPIRA LLP
                                                   35th Floor, One Oxford Centre
                                                   301 Grant Street
                                                   Pittsburgh, PA 15219
                                                   Tel: (412) 471-3490
                                                   Fax: (412) 391-8758
                                                   rbarnes@marcus-shapira.com
                                                   livingston@marcus-shapira.com
                                                   kobrin@marcus-shapira.com

                                                   Counsel for HBC Service Company



                               CERTIFICATE OF SERVICE

       I, Ashley W. Hardin, hereby certify that the foregoing document and supporting papers

were served via the Court’s ECF system to all counsel of record.

                                                     /s/ Ashley W. Hardin
                                                     Ashley W. Hardin




                                               8
